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Approved: A, aia. Caden Wanght

THOMAS JOHN WRIGH®
Assistant United States Attorney

Before: THE HONORABLE ONA T. WANG
United States Magistrate Judge
Southern District of New York

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: SEALED COMPLAINT

UNITED STATES OF AMERICA : Violations of 18 U.S.C.
: 8§ 922(g), 922(k),

- Ve. 7 : 924(c), and 2, and

: 21 U.S.C. § 846

JOSEPH GALDIERI, Sr., and :

JOSEPH GALDIERTI, Jr. . : COUNTY OF OFFENSE:

BRONX

Defendants.

SOUTHERN DISTRICT OF NEW YORK, ss.:

KAREN ALTIERI, being duly sworn, deposes and says that she
is a Special Agent with the Federal Bureau of Investigation
(“FBI”), and charges as follows:

COUNT ONE
(Felon in Possession of a Firearm)

1. From at least in or about July 2019 up to and
including on or about August 8, 2019, in the Southern District
of New York and elsewhere, JOSEPH GALDIERI, Sr. and JOSEPH
GALDIERI, Jr., the defendants, each knowing that he had been
convicted in a court of a crime punishable by imprisonment for a
term exceeding one year, knowingly did possess a firearm, to
wit, a nine-millimeter Ruger semi-automatic pistol, and the
firearm was in and affecting interstate and foreign commerce.

{Title 18, United States Code, Sections 922{g)(1) and 2.)
COUNT TWO
(Possession of a Defaced Firearm)

2. From at least in or about July 2019 up to and
including on or about August 8, 2019, in the Southern District
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of New York and elsewhere, JOSEPH GALDIERI, Sr. and JOSEPH
GALDIERI, Jr., the defendants, knowingly did possess and receive
a firearm which had the importer’s and manufacturer’s serial
number removed, obliterated, and altered, to wit, a defaced
nine-millimeter Ruger semi-automatic pistol, which had
previously been shipped and transported in interstate and
foreign commerce.

(Title 18, United States Code, Sections 922(k) and 2.)

COUNT THREE

(Use, Carrying, and Possession of a Firearm)

3. From at least in or about July 2019 up to and
including on or about August 8, 2019, in the Southern District
of New York and elsewhere, JOSEPH GALDIERI, Sr. and JOSEPH
GALDIERI, Jr., the defendants, during and in relation to a drug
trafficking crime for which they may be prosecuted in a court of
the United States, namely, the marihuana conspiracy charged in
Count Four of this Complaint, knowingly did use and carry a
firearm, and in furtherance of such crime, did possess a
firearm, to wit, a nine-millimeter Ruger semi-automatic pistol.

(Title 18, United States Code,
Sections 924(c)(1}{A) (1) and 2.)

COUNT FOUR
{Marihuana Conspiracy)

4, From at least in or about July 2019 up to and
including on or about August 8, 2019, in the Southern District
of New York and elsewhere, JOSEPH GALDIERI, Sr. and JOSEPH
GALDIERI, Jr., the defendants, and others known and unknown,
intentionally and knowingly did combine, conspire, confederate,
and agree together and with each other to violate the controlled
substances laws of the United States.

5. It was part and an object of the conspiracy that
JOSEPH GALDIERI, Sr. and JOSEPH GALDIERI, Jr., the defendants,
and others known and unknown, would and did distribute and
possess with intent to distribute a controlled substance, in
violation of Title 21, United States Code, Section 8@41(a) (1).

6. The controlled substance that JOSEPH GALDIERI, Sr. and
JOSEPH GALDIERI, Ur., the defendants, conspired to distribute
and possess with intent to distribute was less than 50 kilograms
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of marihuana, in violation of Title 21, United States Code,
Section $41 {b) (1) (D).

(Title 21, United States Code, Section 846.)

7. The bases for my knowledge and for the foregoing
charges are, in part, described in the following paragraphs.

8. IT have served for approximately 10 years in the FBI,
and I have been personally involved in the investigation of this
matter. This affidavit is based upon my personal participation
in the investigation of this matter, my conversations with law-
enforcement officers and other individuals, as well as my
examination of reports and other records. Because this
affidavit is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation.

Where the contents of documents and the actions, statements, and
conversations of others are reported in this Complaint, they are
reported in substance and part, except where otherwise
indicated.

9, Based on my training and experience, my conversations
with law-enforcement officers and other individuals, my review
of certain communications intercepted pursuant to a wiretap
order authorizing the interception of communications transmitted
over the cellular telephones assigned telephone numbers 914-433-
7857 (the “7857 Number”) and 845-608-3741 (the “3741 Number”),
my review of certain draft transcripts of those same
communications, my review of certain video recordings from a
system of surveillance cameras, my review of certain cellular
telephone subscriber information, and my knowledge of certain
physical surveillance, I have learned the following information
about certain specific events leading up to on or about
August 8, 2019. In particular:

a. On or about July 24, 2019 at approximately
12:25 PM, an unidentified male (“Co-Conspirater-1” or “CC-1")
used a cellular telephone assigned telephone number 701-412-8522
(the “8522” Number”) to call the 3741 Number and participated in
a conversation with JOSEPH GALDIERI, Ur., the defendant,! After
CC-1 asked, “What exactly is the plan, brother?” CC-1 thereafter
specified, “The money, when’s it gonna be in my hand?” After
GALDIERI, Jr. asked, “Where would you like it to go tomorrow?”

1 For the reasons described in 771 9.a.i and 9.d, infra, I believe
GALDIERI, Jr. is the user of the 3741 Number on or about

July 24, 2019 and on all subsequent occasions referenced in this
Complaint.
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CC~-1 stated, “It’s gonna have to come to Humboldt, brother.”
Thereafter, GALDIERI, Jr. stated, “ft will get further exact time

to you in a little bit. JT was actually waiting on him, he was
genna come to my office. I literally called him, he was, like,
getting out of bed. .. . So he’s on his way here now.”

i. Based on my involvement in this

investigation, I am aware that GALDIERI, Jr. works at Pocket
Aces Beverages, a business that his father, JOSEPH GALDIERI,
Sr., the defendant, operates, that distributes certain bottled
and canned beverages, and that is based in a warehouse located
at 1633 Stillwell Avenue,- Bronx, New York 10461 (the
“Warehouse”). The Warehouse, which has two leading docks facing
Stillwell Avenue, a north loading dock and a south loading dock,
also contains an enclosed office located inside and at the rear
of the Warehouse (the “Office”).

ai. Based on my review of certain
video recordings from the system of surveillance cameras
installed at the Warehouse, I know that at approximately the
same time as this call was intercepted, a video recording from a
surveillance camera located inside the Office of the Warehouse
depicts GALDIERI, Jr., who was sitting in a chair at a desk in
the Office (the “Desk”), answer a cellular telephone, which he
placed up to his ear and heid there for the approximate duration
of this call. For this reason, I believe that GALDIERI, Jr.'s
references to “my office” and “on his way here” refer to the
Warehouse and the Office.

iii. Based on my review of this same
video recording, I know further that during the entire time that
GALDIERI, Jr. held the cellular telephone to his ear and
participated in this call, GALDIERI, Sr. was also present in the
Office, pacing beside GALDIERI, Jr. for the duration of the
call.

iv. Based on my training and
experience, I am familiar with Humboldt County, California,
which is a county located in the north of that state and a
popular location for the wholesale cultivation of marihuana.

Vv. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
that CC-1 is a marihuana distributor based in Humboldt County,
California who supplies GALDIFRI, Jr. with marihuana.

b. A short time later, on or about July 24,
2019 at approximately 1:52 PM, GALDIERI, Jr. used the 7857

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Number to call a celluiar telephone assigned telephone number
216-203-6005 and participated in a conversation with another
unidentified male (“Co-Conspirator-2" or “CC-2"}.% After
GALDIERT, Jr. stated, “I'll be here all day, but the sooner the
better, the kid’s coming nere soon,” CC-2 responded in relevant
part, “The who comes here?” to which GALDIERI, Jr. replied, “One
of my boys coming to my place .. . i’m giving him the money for
the B-O-Ks.”

i. Based on my training and
experience, I am familiar with “B-O-K,” a common acronym in the
context of marihuana trafficking for “Blood Orange Kush,” a
strain of marihuana that is cultivated in Humboldt County,
California.

ii. Based on my review of certain
video recordings from the system of surveillance cameras
installed at the Warehouse, I know that at approximately the
same time as this call was intercepted, a video recording from a
surveillance camera located inside the Office of the Warehouse
depicts GALDIERI, Jr. using a cellular telephone, from which I
believe that GALDIERI, Jr.’s reference to “my place” refers to
the Warehouse.

1ii. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
that CC-2 owed money to GALDIERI, Jr. for a prior delivery or
future order of marihuana, which money GALDIERI, Jr. intended to
use to pay for a shipment of marihuana, in particular a shipment
of Blood Orange Kush from Humboldt County, California.

c. Thereafter, on or about July 24, 2019 at
approximately 6:55 PM, a video recording from the surveillance
camera located inside the Office of the WAREHOUSE depicts
GALDIERI, Jr. and a further unidentified Asian male (*“Co-
Conspirator-3”" or “CC-3"%) walk inte the Office. A video
recording from another surveillance camera located inside a room
accessible from the Office (the “Room”’), shortly thereafter
depicts GALDIERI, Jr. walk into the Room, pick up a large
quantity of paper currency from the vicinity of an area where on
or about August 8, 2019 I saw a safe, and walk back into the

2 For the reasons described in 7 9-.b.ii, infra, I believe
GALDIERTI, Jr. is the user of the 7857 Number on or about

July 24, 2019 for multiple reasons. In addition, the 7857
Number is subscribed to in the name of “Joseph Galdieri” with a
subscriber address in Rockland County, New York at which JOSEPH
GALDIERI, Jr. resides.

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Office. During the next approximately one hour, the video
recordings from the surveillance cameras located inside the
Office and the Room depict GALDIERI, Jr. and CC-3 both using a
money-counting machine to count numerous large stacks of paper
currency that GALDITERI, Jr. removed from the Room and piaced on
the Desk. Eventually, the video recordings show GALDIERI, Jr.
and CC-3 place the counted paper currency, having been rubber~
banded together in multiple bundles, into a cardboard box, which
video recordings from other surveiliance cameras located in the
Warehouse show CC-3 place in a car that he drives away from the
Warehouse.

i. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
that CC-3 and GALDIERI, Jr. met in the Office of the Warehouse
on or about July 24, 2019 for CC-3 to collect the counted paper
currency for eventual delivery to CC-1 in exchange for a
shipment of marihuana, in particular a shipment of Blood Orange
Kush from Humboldt County, California.

d. During this same time period in which
GALDIERI, Jr. and CC-3 are counting and packaging a large
quantity of paper currency in the Office of the Warehouse, on or
about July 24, 2019 at approximately 7:48 PM, a further
unidentified male (“Co-Conspirator—-4” or “CC-4"%) using a
cellular telephone assigned telephone number 845-304-5908 called
the 3741 Number and participated in a conversation with
_GALDIERT, Jr. After CC-4 stated, “Yo what were the other
flavers you had over there, those other shits you had, those
other brands?” GALDIERI, Jr. stated, “I had danks .. . and I
had moon rock hearts.” Later in the conversation, after CC-4
stated, “What are you doing, are you counting bread?” GALIDIERI,
Jr. responded, “Yeah, how did you know?” to which CC-4 replied,
“T love that sound.”

i. Based on my training and
experience, I am familiar with “dank” and “moon rock heart,”
common terms in the context of marihuana trafficking for potent
or high-quality marihuana and a bud of a cannabis plant further
processed to result in potent marihuana, respectively.

il. Based on my review of certain
video recordings from the system of surveillance cameras
installed at the Warehouse, I know that at approximately the
same time as this call was intercepted, a video recording from a
surveillance camera located inside the Office of the Warehouse
depicts GALDIERI, Jr. using a cellular telephone, sitting at the
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Desk, and using a money-counting machine, as described in 7 9.c,
supra.

iii. Based on my training and
experience, I am familiar with “bread,” a common term in popular
slang in general and in particular in the context of drug
trafficking for money.

iv. Based on my training and
experience, I am familiar with the use of money~counting
machines in general and in particular in the context of drug
trafficking, and am further familiar with the distinct whir of
money-counting machines when in use with large quantities of
paper currency.

e, The following day, on or about July 25, 2019
at approximately 11:09 PM, GALDIERI, Jr. used the 3741 Number to
call the 8522 Number and participated in a conversation with CC-
Ll. At the start of that conversation, GALDIERI, Jr. stated, “T
just spoke to my buddy. He said [ ] send him or just send me an
address and he'li have it delivered in Sacramento tomorrow. But
we gotta give whoever it is 500 bucks and obviously, there only
150 on there, so if you wanna just, fucking, T'll quick pay you
500 bucks or whatever just to give to the guy. Whoever is
delivering it. If that's ok with you? Or just take it out of [ |]
the 150, I'll just give it to you next time, either or?” In
response, CC-1 stated, “Okay, that’s fine.”

i. Based on my training and
experience, I am familiar with Sacramento, California, a city
that is located in the vicinity of Humboldt County, California.

ii. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
that “my buddy” refers to CC-3, “150” refers to $150,000 or the
amount of counted paper currency that CC-3 coliected for
eventual delivery to CC-1 in exchange for a delivery of
marihuana, and “500 bucks” refers to a fee due upon delivery of
the $150,000 for which GALDIERI, Jr. is responsible.

f. The following day, on or about July 26, 2019
at approximately 7:21 AM, a video recording from the
surveillance camera located inside the Office of the Warehouse
depicts GALDIERI, Jr. waik into the Office, sit down at the
Desk, open the top drawer on the right side of the Desk, pull
out a dark-colored handgun consistent in its appearance with the
Firearm, as defined in 7 10.c, infra, and promptly return the
dark-colored handgun to the same drawer.

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1. Based on my review of certain
video recordings from the system of surveillance cameras
installed at the Warehouse, I have not identified any video
recording from the surveillance camera located inside the Office
of the Warehouse depicting the removal of this dark-colored
handgun from the top drawer on the right side of the Desk
between on or about July 26, 2019 and on or about August 8,
2019.

ii. As detailed in § 10.c, infra, on
or about August 8, 2019, an investigator of the New York State
Police seized the Firearm, as defined in F 10.c, infra, from the
top drawer on the right side of the Desk.

gq. Later that same day, on or about July 26,
2019 at approximately 6:56 PM, CC-1 used the 8522 Number to call
the 3741 Number and participated in a conversation with
GALDIERT, Jr. After GALDIERI, Jr. stated, “This dumb ass kid is
saying that if he don’t have an address he can’t go anywhere.
Can you give me [ | an [ ] address to [ ] whereabout so I can
send it to this moron?” CC-1 stated, “What a fucking dumb fuck.”
Thereafter, GALDIFRI, Jr. stated, “Yeah, teil me about it, I
Fucking, I’m dealing with Asian morons, bro, and I fucking paid.
Yo, you know what IT paid to get that money out there? 67-50.
Six thousand, seven hundred[, and] fifty dollars to get the
money over there, and a hundred fifty thousand dollars of my
money is just fucking sitting in LA.” Thereafter, CC-1 quoted
an address located in Sacramento, California to GALDIERI, Jr.

i. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
“Asian morons” refers to CC-3 and one or more associates of CC-
3, “[s]ix thousand, seven hundred[, and] fifty dollars” refers
to the fee that GALDIERI, Jr. paid to CC-3 for delivery of the
counted paper currency to CC-1, and “a hundred fifty thousand
dollars” refers to the amount of that counted paper currency.

h. A short time later, on or about July 26,
2019 at approximately 8:09 PM, CC-i used the 8522 Number to cail
the 3741 Number and participated in a conversation with
GALDIERI, Jr. After CC-1 stated, “If it doesn’t come there
today, it looks like it’s gonna have to drive all the way up
here,” GALDIERI, Jr. responded, “Okay, so that’s what I gotta
tell him,” to which CC-1 replied, “As long as it does, that’s
fine, but I need it. . . here this weekend, brother.”
Thereafter, CC-1 stated, “You should [ ] when my boy brings it
to you, you should try to send some back with him.” In
response, GALDIERI, Jr. stated, “Okay,” CC-1 responded, “Yeah, I

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would,” and GALDIERT, Jr. replied, “TIT didn’t know that was
possible.” After CC-1 then stated, “Tt is very possible,”
GALDIERI, Jr. responded, “Okay, I'11 keep that in mind then for

sure,” to which CC-1 replied, “it just makes it a lot easier,
cuz he drops everything off to me and [ ] I just do it again,
send it out, boom, fucking easy.” After GALDIERI, dr. then

stated, “Burn and turn, exactly,” CC-1 responded, “I’1il make it
hella easy,” to which GALDIERI, Jr. replied, “Always keep it in
circulation, okay, alright, let me call him now and tell him
that if it’s not today, it has to be in Humboldt, right?” to
which CC-1 further replied, “Yeah.”

i. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
“all the way up here” refers to the location of CC-1 in Humboldt
County, California, which is located north of Sacramento,
California.

ii. Based on my training and
experience, I am familiar with the practice of drug traffickers
paying a cash security deposit at the time of delivery of a
quantity of drugs toward payment of the purchase price of an
anticipated future delivery of another quantity of drugs, a
practice that particularly between established distributers of
drugs who are physically distant from one another can obviate
the requirement for a drug supplier to possess in hand the
entirety of the purchase price for that anticipated future
delivery before initiating its shipment, thereby materially
facilitating the pace at which transactions can be conducted in
an illegal industry in which cash transactions predominate.

aii. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe ™
boy” refers to an associate of CC-1 who is expected to deliver
the shipment of marihuana to GALDIERI, Jr. and “send some back
with him” refers to such a cash security deposit paid at the
time of delivery of a quantity of drugs toward payment of the
purchase price of an anticipated future delivery of another
quantity of drugs.

my

i. Thereafter, on or about July 29, 2019 at
approximately 1:28 PM, CC-1 used the 8522 Number to call the
3741 Number and participated in a conversation with GALDIERI,
Jr. After CC-1 stated, “So when this stuff comes out east,
where do you want it to go over there?” GALDIERI, Jr. stated, “I
was hoping to my business, he can pull right in where all my
other vans are and I'll fucking [ } you know, I’il close down

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the watchama call it.” After CC-l1 stated, “Is it like a semi
trailer can get in there or what?” GALDIERI, Jr. responded,
“Yeah, a hundred percent,” to which CC-1 replied, “Okay, I need
that address.” After CC-1 acquired a pencil and stated, “I’m
ready now,” GALDIERI, Jr. stated, “Alright 1633... . Stillwell
S~-T-I-L-L-W-E-L-L . . . that’s a Stillwell Avenue in Bronx New
York B-R-O-N-xX 10461."

1. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, T believe
“this stuff” refers to a shipment of marihuana from CC-1 in
Humboldt County, California, which GALDIERI, Jr. directs to be
delivered to the Warehouse.

j. Approximately one week later, on or about
August 6, 2019 at approximately 10:24 PM, CC-1 used the 8522
Number to call the 3741 Number and participated in a
conversation with GALDIERI, Jr. After CC-1 stated, “What are
you up to tomorrow?” GALDIERI, Jr. responded, “I’m free ail
day,” to which CC-1 replied, “It’s gonna show up, I’m talking to
him right now, I can be there tomorrow between twelve and four.”
After GALDIERI, Jr. stated, “Same addee I. gave you?” CC-1
responded, “Yeah . . . everything is good.” After CC-l
thereafter stated, “The truck can puil in there, right?”
GALDIERI, Jr. responded, “Absolutely,” before proceeding to
state, “I got a forklift and everything, so I’m just gonna take

it off with the forklift.” After CC-1 thereafter stated, “He'll
be in a white truck,” GALDIERI, Jr. responded, “Okay, and I got
to give him the twenty when T see him or . . . ?”% to which CC-1

replied, “Yeah,” to which GALDIERI, Jr. further replied, “Okay,
cool, I got it.”

i. Based on my training and
experience and work on this investigation, including my review
of other intercepted communications detailed here, I believe
“same addee I gave you” refers to the address of the Warehouse
that GALDIERI, Jr. previously specified for delivery of the
shipment of marihuana, “white truck” refers to the vehicle that
the associate of CC-1l who was delivering the shipment of
marihuana would drive te deliver the shipment of marihuana, and
“the twenty” refers to the cash security deposit that GALDIERI,
Jr. had decided to pay to this associate of CC-1, which is
referenced in 7 9.h, supra, most likely a cash security deposit
of $20,000.

k. The next day, on or about August 7, 2019, I
conducted physical surveillance together with other law-

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enforcement officers in the vicinity of the Warehouse; however,
a white truck did not arrive at the Warehouse.

1, Thereafter, on or about August 8, 2019, the
8522 Number, which I previously associated with CC-1, and the
3741 Number, which I previously associated with GALDIERI, Jr.,
participated in an exchange of text messages. In particular, on
or about August 8, 2019 at approximately 1:44 AM, the 8522
Number texted, “He will be there early as u want. He’s parked

close by already.” Thereafter, on or about August 8, 2019 at
approximately 2:05 AM, the 8522 Number texted, “/am works. He’s
there. White truck.” A short time later, on or about August 8,

2019 at approximately 5:24 AM, the 3741 Number texted, “Ok
sounds good. Wil be there the.” Finally, a moment later, on or
about August 8, 2019 at approximately 5:24 AM, the 3741 Number
texted, “Then.”

10. Based on my training and experience, my conversations
with law-enforcement officers and other individuals, my review
of certain video recordings from a system of surveillance
cameras, my review of certain pen-register data for the 3741
Number, my review of certain subscriber information for cellular
telephones, my knowledge of certain physical surveillance, and
my review of certain physical evidence, I have learned the
following information about certain specific events on or about
August 8, 2019:

a. Based on my review of certain video
recordings from on or about August 8, 2019 from the system of
surveillance cameras installed at the Warehouse and my review of
certain pen-register data for the 3741 Number, I have learned
the following information:

i. At approximately 6:49 AM, a video
recording from the surveillance camera trained on the north
loading dock and exterior of the Warehouse depicts a white
tractor trailer truck (the “White Truck”) arrive on Stillwell
Avenue and park along Stillwell Avenue to the north of the
Warehouse and on the same side of Stillwell Avenue as the
Warehouse.

ii. At approximately 7:08 AM, a video
recording from the surveillance camera trained on the north
loading dock and exterior of the Warehouse depicts JOSEPH
GALDIERI, Sr., the defendant, walk into the Warehouse.

aii. At approximately 7:09 AM, a video
recording from the surveillance camera located inside the Office
depicts GALDIERI, Sr. open the top drawer on the right side of

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the Desk and remove from that drawer a pair of glasses, which he
proceeds to wear.

iv. At approximately 7:18 AM, a video
recording from the surveillance camera trained on the north
loading dock and exterior of the Warehouse depicts an
unidentified male (*“Co-Conspirator-5” or “CC-5"%) step out of the
passenger side of the cab of the White Truck, walk up to the
Warehouse, and outside the Warehouse approach GALDIERI, Sr., who
has walked out of the Warehouse at approximately the same time.
After a brief face-to-face interaction between CC-5 and
GALDIERI, Sr., the same video recording shows CC-5 and GALDIERI,
Sr. walk down Stillwell Avenue toward the White Truck, before
GALDIERI, Sr. walks back down Stillwell Avenue and back into the
Warehouse at approximately 7:27 AM.

Vv. During this same time period that
cc-5 and GALDIERI, Sr. are both outside the Warehouse, I know
that at approximately 7:25 AM and 7:26 AM, the 3741 Number,
which I previously associated with JOSEPH GALDIERI, Jr., the
defendant, placed two calls to a cellular telephone assigned the
telephone number 917-731-0688 (the “0688 Number”), which lasted
approximately 25 seconds and 16 seconds, respectively. At
approximately the same time as both of these two calls, video
recordings from surveillance cameras located in the exterior of
the Warehouse depict GALDIERI, Sr. using a cellular telephone.
Finally, the 0688 Number is subscribed to in the name of “Joseph
Galdieri” with a subscriber address in Rockland County, New York
at which GALDIERI, Sr. resides.

vi. At approximately 7:28 AM, just
after these two calls and just after GALDIERI, Sr. walks into
the Warehouse, a video recording from the surveillance camera
located in the Office of the Warehouse depicts GALDITERI, Sr.
walk into the Office. A video recording from another
surveillance camera located inside the Room shortly thereafter
depicts GALDIERI, Sr. walk into the Room, pick up a large
quantity of paper currency from the vicinity of an area where
later on or about August 8, 2019 I saw a safe, and walk back
into the Office. Back in the Office, the video recording from
the surveillance camera located in the Office depicts GALDIERI,
Sr. place the paper currency down on the Desk, retrieve a black
plastic bag, and place the paper currency inside the black
plastic bag.

vii. At approximately 7:30 AM, the
video recording from the surveillance camera trained on the
north loading dock and exterior of the Warehouse depicts
GALDIERT, Sr. walk out of the Warehouse and hand the black

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plastic bag to CC-5, who then signals to the White Truck with
his hand, after which the White Truck drives down Stillwell
Avenue toward the Warehouse.

viii. At approximately 7:39 AM, a video
recording from the surveillance camera trained on the south
loading deck and exterior of the Warehouse depicts a further
face-to-face interaction between CC-5 and GALDIERI, Sr. who
gestures toward a forklift with his hand, after which CC-5 waiks
up to the White Truck and appears to enter its tractor-trailer
compartment. At this time, a fork lift, which an unidentified
male walks cut of the warehouse to operate, approaches the White
Truck and is loaded with multiple boxes from the White Truck.

ix. At approximately 7:43 AM, video
recordings from surveillance cameras located in the exterior and
the interior of the Warehouse depict the fork lift drive from
the White Truck and into the Warehouse through the south loading
dock, carrying what are identifiable as multiple boxes bearing
the distinct lego of a shipping company.

x. At approximately 7:45 AM, the
video recordings from the surveillance camera trained on the
north and south loading docks and exterior of the Warehouse
depict CC-5, who had walked back into the Warehouse, and
GALDIERT, Sr. walk out together from the Warehouse at which
point CC-5 walks toward the White Truck, which soon thereafter
drives away down Stillwell Avenue.

xi. At approximately 8:00 AM, video
recordings from the surveillance cameras located in the exterior
and the interior of the Warehouse depict GALDIERI, Jr. park a
sport-utility vehicle (the “SUV”) in the vicinity of the front
of the Warehouse and thereafter walk into the Warehouse.

xii. At approximately 8:25 AM, after
the video recordings from the surveillance cameras located in
the Office and elsewhere in the Warehouse depict GALDIERI, Ur.
walk into the Office, work at a desktop computer atop the Desk,
and walk back out of the Warehouse, at which point he backs the
SUV into the south loading dock of the Warehouse.

xiii. At approximately 8:46 AM, the
video recording from the surveillance camera trained on the
south loading dock and the exterior of the Warehouse depicts
GALDIFRI, Jr. drive away the SUV down Stillwell Avenue.

xiv. At approximately 9:43 AM, the
video recording from the surveillance camera located in the

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Office depicts GALDIERI, Sr., who is seated at the Desk, again
open the top drawer on the right side of the Desk, inside of
which a dark-colored handgun consistent in its appearance with
the Firearm, defined in 7 10.c, infra, is visible. After
GALDIERI, Sr. removes a pair of scissors from the same drawer,
he proceeds to return them to the drawer, placing them directly
on top of the dark-colored handgun,

b. After GALDIERT, Jr. drove the SUV away from
the Warehouse, later in the morning on or about August 8, 2019,
a group of law-enforcement officers were conducting physical
surveillance with the aid of geographic location information for
the 3741 Number and intercepted the SUV and GALDIERI, Jr., who
was still driving the SUV, in the vicinity of the address in
Rockland County, New York at which he resides. There, on or
about August 8, 2019, the law-enforcement officers executed a
warrant authorizing the search of the SUV and the person of
GALDIERI, Jr. Inside the SUV, the law-enforcement officers
found approximately 11 boxes bearing the distinct logo of a
shipping company and containing a green, leafy substance, which
they weighed at approximately 90 pounds and which, based on my
training and experience in the identification of drugs, I
believe is marihuana. 3

c. After GALDIERI, Ur. drove the SUV away from
the Warehouse, later in the morning on or about August 8, 2019,
another group of law-enforcement officers and I were conducting
physical surveillance in the vicinity of the Warehouse and
executed a warrant authorizing the search of the Warehouse.
Inside the Warehouse, an investigator of the New York State
Police (“Officer-1"%) saw GALDIERI, Sr. inside the Office through
a window built into the Office, which opens onto the interior of
the Warehouse. Inside the Office, Officer-1 found inside the
top drawer on the right side of the Desk, among other things, a
nine-millimeter Ruger semi-automatic pistol (the “Firearm”’). In
addition to the Firearm, which was loaded with six nine-
millimeter cartridges, the law-enforcement officers and I also
seized five .380-caliber cartridges and one .45-caliber

cartridge. In addition, in the second-from-top drawer on the
right side of the Desk, law-enforcement officers found more than
$10,000. Elsewhere in the Office, law-enforcement officers

found a bucket in the rear of the Office containing a green,
leafy substance, which they weighed at approximately two pounds.
Further, law-enforcement officers found a tool chest in the rear
of the Office containing a green, leafy substance, which they

3 Before serving in the FBI as a Special Agent, for approximately
seven years, I worked in the Drug Enforcement Administration as
a Forensic Chemist, working on a daily basis to identify drugs.

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weighed at approximately five grams. Based on my training and
experience in the identification of drugs, I believe these
green, leafy substances are also marihuana. Finally, law-

enforcement officers seized a digital video recorder to which a
system of surveillance cameras located in the Warehouse was
connected (the “Digital Video Recorder”).

11. Thereafter, on or about August 19, 2019, law-
enforcement officers executed a further warrant authorizing the
search of the Digital Video Recorder.

a. The video recordings extracted from the
Digital Video Recorder are the video recordings from the
surveillance cameras located at the Warehouse, which I have
referenced in this Complaint.

b. Based on my review of certain video
recordings from this system of surveillance cameras from the
Warehouse, I know that the surveillance camera located in the
Office depicts JOSEPH GALDIERI, Sr., the defendant, sitting and
working on multiple occasions at the Desk in the days leading up
to August 8, 2019 and on that day itself.

c. Based on my review of certain video
recordings from this system of surveillance cameras from the
Warehouse, I know that the surveillance camera located in the
Office depicts JOSEPH GALDIERI, Jr., the defendant, sitting and
working on multiple occasions at the Desk on or about July 24,
2019 and in the days leading up to August 8, 2019 and on that
day itself.

12. Based on my review of the Firearm, I know that its
serial number, which is located prominently above its handgrip,
is defaced insofar as that serial number is scraped off and
entirely illegible.

13. As part of my investigation of this matter, I have
received information from a special agent of the Alcohol,
Tobacco, Firearms, and Explosives Bureau (“ATE”), who, based on
the special agent's expertise in the manufacturing of firearms
and analysis of documents relating to the Firearm, including
photographs of the Firearm, concludes that the Firearm was not
manufactured in the State of New York.

14. I have reviewed the criminal history of JOSEPH
GALDIERI, Sr., the defendant, and identified that he was
convicted in the Supreme Court of the State of New York, Bronx
County on or about January 24, 2013 of Assault in the Second
Degree, in violation of New York Penal Law Section 120.05(1).

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Based on my training and experience, I am aware that this
offense is a crime punishable by a term of imprisonment
exceeding one year.

15. I have reviewed the criminal history of JOSEPH
GALDIERI, dJr., the defendant, and identified that he was
convicted in the County Court of the State of New York, Rockland
County on or about May 18, 2016 of Criminal Possession of a
Controlled Substance in the Third Degree, in violation of New
York Penal Law Section 220.16(1). Based on my training and
experience, I am aware that this offense is a crime punishable
by a term of imprisonment exceeding one year.

WHEREFORE, deponent respectfully requests that arrest
warrants be issued for JOSEPH GALDIERT, Sr. and JOSEPH GALDIERI,
dr., the defendants, and that they be arrested, and imprisoned
or bailed, as the case may be.

Kalish
KAREN ALTIERI
Special Agent
Federal Bureau of Investigation

Sworn to before me this
19th day of September, 2019

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SARL

THE HONORABLE ona T. WANG
United States rmgrstrate vgudge
Southern District of New York

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